                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                        ) Case No. 1:17-cr-70-5
                                                )
v.                                              ) Judge Travis R. McDonough
                                                )
DANIEL JOHNSON                                  ) Magistrate Judge Christopher H. Steger

                            REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), the undersigned United States Magistrate Judge conducted

a plea hearing in this case on August 9, 2017. At the hearing, Defendant entered a plea of guilty to

Count One of the Indictment. On the basis of the record made at the hearing, the Court finds that

Defendant is fully competent and capable of entering an informed plea; the plea is made

knowingly and with full understanding of each of the rights waived by Defendant; it is made

voluntarily and free from any force, threats, or promises; Defendant understands the nature of the

charges and penalties provided by law; and the plea has a sufficient basis in fact. Acceptance of

the plea, adjudication of guilt, acceptance of the Plea Agreement, and imposition of sentence are

specifically reserved for the District Court Judge.

       I therefore recommend that the Court: (1) grant Defendant’s motion to withdraw his not

guilty plea as to Count One of the Indictment; (2) accept Defendant’s guilty plea as to Count One

of the Indictment; (3) adjudicate Defendant guilty of conspiracy to distribute 5 kilograms or more

of a substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846; and (4) order that Defendant remain in

custody until sentencing in this matter.

       The Defendant’s sentencing hearing is scheduled on November 17, 2017, at 9:00 a.m.



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ENTER.


                                               Christopher H. Steger
                                               UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

        You have the right to de novo review by the district judge of the foregoing findings. Any
application for review must be in writing; must specify the portions of the findings or proceedings
objected to; and must be filed and served no later than fourteen (14) days after the plea hearing.
Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
the plea of guilty in this matter. See 28 U.S.C. § 636(b).




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